                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



   UNITED STATES OF AMERICA,                    )
                                                )
   v.                                           )      Case No. 3:15-cr-00037-2
                                                )      Judge Aleta A. Trauger
   BENJAMIN EDWARD HENRY                        )
   BRADLEY                                      )



         ORDER OF FORFEITURE CONSISTING OF MONEY JUDGMENT and
                   PRELIMINARY ORDER OF FORFEITURE

        Before the court are the United States’ Motion for Entry of a Preliminary Order of

Forfeiture (Doc. No. 858) and Motion for an Order of Forfeiture of at Least a $1,000,000 United

States Currency Money Judgment (Doc. No. 861). The motions have been fully briefed and are

ripe for review. Neither party has requested an evidentiary hearing.

        For the reasons set forth in the accompanying Memorandum, the United States’ motions

(Doc. Nos. 858, 861) are GRANTED, and the court ORDERS as follows:

        1.     A preponderance of the evidence establishing that the foreseeable amount of the

proceeds of the drug-disribution conspiracy to which the defendant has pleaded guilty is at least

$1,000,000.00 and that the foreseeable value of property involved in the money laundering

conspiracy to which the defendant pleaded guilty is at least $1,000,000.00, this Order of

Forfeiture Consisting of a Money Judgment in the amount of $1,000,000.00 United States

Currency (“Money Judgment”) is HEREBY TAKEN against defendant Benjamin Bradley,

jointly and severally with any other co-conspirator against whom a similar money judgment is

taken as to the Indictment in this matter. Pursuant to Rule 32.2(b)(4) of the Federal Rules of




Case 3:15-cr-00037        Document 1005        Filed 06/22/17      Page 1 of 6 PageID #: 3895
                                                                                                2


Criminal Procedure, this Order of Forfeiture Consisting of a Money Judgment shall become

immediately final as to the defendant upon entry and shall be made part of the sentence and

included in the Judgment. Pursuant to Rule 32.2(c)(1), “no ancillary proceeding is required to the

extent that the forfeiture consists of a money judgment.”

       2.      Insofar as some portion of the $1,000,000.00 derived from or connected with the

crimes of conviction, as a result of the defendant’s or his co-conspirators’ acts or omissions,

either cannot be located upon the exercise of due diligence, has been transferred or sold to, or

deposited with, a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other property not easily

divisible, the United States may engage in discovery in accordance with the Federal Rules of

Civil Procedure in an action or claim for a debt to identify additional substitute assets having a

value up to $1,000,000 United States currency, as authorized by 28 U.S.C. §§ 3001(a)(1) and

3015 and by Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure.

       3.      As the result of the acceptance of the plea of guilty, this Preliminary Order of

Forfeiture is HEREBY ENTERED against defendant Benjamin Bradley, who shall forfeit to

the United States his interest in the following:

       (a)     Approximately $46,300.00 United States currency seized from 15540 Prevost
               Street, Detroit, Michigan on March 12, 2015;

       (b)     Approximately $78,300.00 United States currency seized from 45669 Harmony
               Lane, Belleville, Michigan on March 12, 2015;

       (c)     Real property commonly known as 14425 Curtis, Detroit, Michigan 48235, and
               more particularly described in the Exhibit A attached to the United States’ Bill of
               Particulars for Forfeiture of Real Property (“Exhibit A”) (Doc. No. 432-1).

       (d)     Real property commonly known as 14427 Curtis, Detroit, Michigan 48235, and
               more particularly described in Exhibit A.

       (e)     Real property commonly known as 16617 Leisure, Detroit, Michigan 48235, and
               more particularly described in Exhibit A.



Case 3:15-cr-00037         Document 1005           Filed 06/22/17   Page 2 of 6 PageID #: 3896
                                                                                                   3


       (f)     Real property commonly known as 15355 Ohio Street, Detroit, Michigan 48238,
               and more particularly described in Exhibit A.

       (g)     Real property commonly known as 45669 Harmony Lane, Belleville, Michigan
               48111, and more particularly described in Exhibit A.

(The parcels of real property identified herein are collectively referred to below as the “Subject

Property”).

       The value of the seized currency and Subject Property shall be applied to the Money

Judgment. In addition, the value of other assets forfeited to the United States, as either tainted

assets or substitute assets, by the defendant or any co-conspirator against whom a similar money

judgment is taken as to the Indictment in this matter during these proceedings shall be applied to

reduce the amount owed on the Money Judgment.

       4.      The defendant does not object to the forfeiture of the Subject Property other than

that property commonly known as 45669 Harmony Lane in Belleville, Michigan. With respect to

that Property, the court has determined, based on the guilty plea and all the evidence in the

record, as noted in the accompanying Memorandum, that the United States has established by a

preponderance of the evidence the requisite nexus between such Property and the offenses of

conviction. Each parcel of the Subject Property is subject to forfeiture pursuant to 21 U.S.C. §§

853(a)(1) and (a)(2) and 18 U.S.C. § 982(a)(1).

       5.      Upon the entry of this Order, the Attorney General (or his designee) is authorized

to seize the Subject Property and to conduct any discovery proper in identifying, locating or

disposing of the property subject to forfeiture in accordance with Fed. R. Crim. P. 32.2 (b)(3).

       6.      Upon entry of this Order, the Attorney General (or his designee) is authorized to

commence any applicable proceeding to comply with statutes governing third-party rights,

including giving notice of this Order, in accordance with Fed. R. Crim. P. 32.2.

       7.      Upon the issuance of this Order forfeiting the defendant’s interest in the Subject



Case 3:15-cr-00037        Document 1005         Filed 06/22/17     Page 3 of 6 PageID #: 3897
                                                                                                     4


Property, the United States shall publish notice of the Order and its intent to dispose of the

property in such a manner as the Attorney General (or his designee) may direct on-line at

www.forfeiture.gov, the official internet government forfeiture site, for 30 consecutive days. The

United States shall also, to the extent practicable, provide written notice to any person known to

have alleged an interest in the Subject Property, specifically including, but not limited to,

Kareema Hawkins.

       8.      Any person, other than the above named defendant, asserting a legal interest in

the Subject Property shall, within 30 days of the final publication of notice or receipt of notice,

whichever is earlier, petition the court for a hearing without a jury to adjudicate the validity of

his or her interest in the Subject Property and for an amendment of this Order of Forfeiture.

       9.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture shall become final as to the defendant upon entry and shall be

made part of the sentence and included in the judgment. If no third party files a timely claim, this

Order shall become the Final Order of Forfeiture, as provided by Rule 32.2(c)(2).

       10.     Any petition filed by a third party asserting an interest in the Subject Property

shall be signed by the third-party petitioner under the penalty of perjury and shall set forth the

nature and extent of the petitioner’s right, title, or interest in the Subject Property, the time and

circumstances of the petitioner’s acquisition of the right, title, or interest in the Subject Property,

and any additional facts supporting the petitioner’s claim and the relief sought.

       11.     After the disposition of any third-party motion filed under Rule 32.2(c)(1)(A) of

the Federal Rules of Criminal Procedure and before a hearing on the petition, discovery may be

conducted in accordance with the Federal Rules of Civil Procedure upon a showing that such

discovery is necessary or desirable to resolve factual issues.




Case 3:15-cr-00037         Document 1005         Filed 06/22/17       Page 4 of 6 PageID #: 3898
                                                                                                   5


        12.     The United States shall have clear title to the Subject Property following the

court’s disposition of all third-party interests, or, if none, following the expiration of the period

provided by 28 U.S.C. § 2461(c), which incorporates by reference the pertinent provision of 21

U.S.C. § 853(n)(2) for the filing of third-party petitions.

        13.     Regarding the Money Judgment, the United States Probation and Pretrial Services

will provide the defendant’s Presentence Report and all supporting documentation to the Asset

Forfeiture Unit of the United States Attorney’s Office for use in discovery.

        14.     The Internal Revenue Service will provide the defendant’s Tax Returns for the

years 2011 through 2016 to the Asset Forfeiture Unit of the United States Attorney’s Office for

use in discovery.

        15.     The United States may, at any time, move pursuant to Rule 32.2(e) of the Federal

Rules of Criminal Procedure to amend this Order of Forfeiture to include other substitute

property having a value not to exceed $1,000,000 United States currency to satisfy the Money

Judgment in whole or in part.

        16.     Upon payment of the Money Judgment in full, the United States shall file a

satisfaction of judgment with the District Court and the appropriate clerk of any county in which

a transcript or abstract of the Judgment has been filed.

        17.     As long as the Order of Forfeiture is not completely satisfied and a sum of money

is still owed, the defendant shall remain personally liable pursuant to this Order of Forfeiture,

which will continue in full effect until payment of the total amount of $1,000,000 United States

currency, plus statutory interest, is made in full.




Case 3:15-cr-00037         Document 1005          Filed 06/22/17    Page 5 of 6 PageID #: 3899
                                                                                          6


       18.     The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       It is so ORDERED.




                                             ____________________________________
                                             ALETA A. TRAUGER
                                             United States District Judge




Case 3:15-cr-00037        Document 1005        Filed 06/22/17   Page 6 of 6 PageID #: 3900
